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.-‘\O 91 (Rcv. 08/09) C`rimin:i.l Complainl HH

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

United States of America
v.

Darren Kamnitzer
699 Streamwater Drive
B|ac|<|icl<, OH 43004

CaseNo. J{'/q,m\]'__ /bz

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CRIMINAL COMPLAINT

l, thc complainant in this case, state that thc following is true to the best of my knowledge and belict`.

On or about the date(s) of 09/11/2018 in the county of Frank|in Counties in the
Southern District of Ohio . the defendant(s) violated:
Cr)de Sec!t`on ()jénse Descrfp!ion
18 U.S.C. 2251(a) Production of child pornography: use of a minor engaged in sexually explicit

conduct for the purpose of producing a visual depiction of such conduct

This criminal complaint is based on these facts:

See attached affidavit incorporated herein by reference

i§l Continuccl on the attached shcct.

  

Cr)mplarrrmi! '.s' signature

Bretf M. Pe_'¢`ichey, TFO FB|

Pr'r`med name aan !r`r'."t'

Swom to before me and signed in my presence

Date: 3“§"/(’( §\/L/“\__._,/

dodge 's signature
City and state: ( Co|umbus, Ohio Che|sey [Vi. Vascura, LJ_._S. Magistrate Judge

Prr`nred name and title

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

In the Matter of the Criminal Complaint:

United States of America
v.

Darren Kamnitzer

699 Streamwater Drive

Blacklick, OH 43004

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Brett M. Peachey, a Task Force Officer with the Federal Bureau of Investigation
(“FBI”), Columbus Resident Agency, being first duly swom, hereby depose and state as follows:

l. I, TFO Brett Peachey (your affiant), make this affidavit in support of a criminal complaint
to arrest for a violation of 18 U.S.C. § 2251(a) - Production of Child Pomography. Since this
affidavit is being submitted for the limited purpose of securing a criminal complaint and arrest
warrant, your affiant did not include each and every fact known concerning this investigation
Your affiant did not withhold any information or evidence that would negate probable cause.
Your affiant set forth only the facts that are believed to be necessary to establish probable cause
that Darren KAMNITZER committed the violations listed above.

2. Your affiant has been employed as a police officer for the Westerville Police Depaitment
since December of 1995. Since March of 2008, your affiant has been assigned to the Child
Exploitation Task Force With the Federal Bureau of Investigation, Cincinnati Division, Columbus
Resident Agency, conducting online child enticement and child pornography investigations Your
affiant is also a member of the Franklin County Internet Crimes Against Children Task Force in
Columbus, Ohio investigating similar crimes. Your affiant has gained experience through a
Bachelor of Arts Degree in Criminology, and has received specialized training in the area of
internet crimes involving child exploitation, child pornography investigations and computer
forensics. Your affiant has been involved in hundreds of investigations involving internet crimes
against children, resulting in dozens of felony arrests and convictions As a Task Force Officer
with the FBI, your affiant is authorized to investigate violations of the laws of the United States

under the authority of the United States.

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3. On September ll, 2018, a subject utilizing the Twitter user name “Jacobauditions”
contacted a ten year old female in Switzerland, hereinafter referired to as “MG,” via Twitter’s
direct messaging function. Jacobauditions was posing as the manager for Jacob Sattorius, who is
a teenage singer and intemet personality in the United States, and asked MG if she would like to
audition to be in a video with Sartorius. After being advised that MG was ten years of age,
Jacobauditions asked her several background questions and then requested that she take a full
length “selfie” of` herself in the mirror. After receiving the photo, Jacobauditions gave details
regarding how the video would be made and advised that she and a parent would be flown to

California where the video would be produced, if she could pass the audition.

4. After advising MG that the video would be produced on a beach, Jacobauditions requested
that she take a photo of herself in a bikini and send it to him. After MG advised that she was not
comfortable taking a photo of that nature due to her age, Jacobauditions asked her to be “brave”

and “strong” advising “I know you can do this and no one is going to see this okay?”

5. MG agreed to take the photo but advised that she did not have a bikini. Jacobauditions
advised her that a bra and underwear are the same and that many of the other fans who have
auditioned for the video used a bra and underwear as well. When MG conceded to taking the
photo, Jacobauditions instructed her that it had to be a full length photo and her shirt has to be
lifted like a bikini. At that point, a photo was sent from MG to Jacobauditions However, this

photo could not be recovered in the conversation so its contents are unknown.

6. After MG sent this photo, Jacobauditions responded “There is only one more part and then
we will be done and you will get to talk with Jacob then. I need to know you are 100% serious
about this because we are investing a lot of money in this and in you. l need to know that when
you are with Jacob that you can do what I ask when I ask. It will be the most difficult think (sic)
you've ever had to do, but I know you are up to it. I need you to take one more picture, just like
the last one you took, but With no top on at all. This picture will be deleted automatically 3
seconds after you message it, and no one will ever see it, ever. lt will show that you are serious,

and then we will be done. Be brave I know you can do this.”

7 . MG sent another photo and, after this photo was sent, Jacobauditions responded “ok good

deleted, but it has to be the bottoms also” to Which MG sent another photo. Jacobauditions

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advised that the photo “has to show the bottom as well” and “You don’t have to show your face
but it has to show down there.” As MG continued to send photos, Jacobauditions responded “It
has to show between your legs, all those are deleted” and “closer ..... I need you to sit on the bed,
with your legs spread open, and picture in between your legs.” All of the photos that MG sent

during this part of the conversation could not be recovered and their content is unknown.

8. Jacobauditions then asked MG if she knows how to take a video and states “ok, there are
only a few more pictures to take. I need a closer picture in between your legs, and I need you to
open it up a little with your fingers.” MG responded by sending a short close up video, nude from
the waist down, of her vagina. Although the child’s face is not visible and her chest area is
clothed, there is no evidence of breast development or pubic hair, and she thus appears to be
prepubescent. Jacobaudtions responded “ok, so I need you to do that again, but open it up a little
more, for 20 seconds. And I want you to say that you love Jacob Satorius and want him to come
to Switzerland. . ...and your shirt can't be on.” MG responded by sending a 20-second video
depicting a close up of her vagina using her fingers to expose herselfl Jacobaudtions responded
“you still have your shirt on, can you please do it again.” MG responded With another 20- second
video, in which she Was not Wearing a shirt and was using her fingers to spread and expose her

vagina.

9. Jacobauditions then responded “ok good, we are getting close...you are doing so well.
Next, and remember, all the others have done this. I need a 20 second video, I need to see your
butt and the hole. I need you to point your butt at the camera and spread your cheeks so I can see
inside.” When MG responded “That is sexual abuse. . .I am ten years old I cannot do it,”
Jacobauditions assured her that it was all part of the audition and that all the other participants had
done it. After additional encouragement, MG sent a l6-second close up video of her vagina and
anus. At one point in the video she rolls over onto her stomach in an attempt to record her

buttocks.

lO. Jacobauditions then wrote to MG, “Okay, there is only one more and then we are done,
but it is difficult, but I know you can do it. . ..I need you to first, to set your phone down taking a
video like you just did, and focus on your butthole like in thie (sic) picture for 15 seconds. . . .I
want you to be able to focus the video on that shot for 15 seconds, let's see if you can do that on

the floor. ...remember, no clothes on at all.” MG responded to these messages by sending a 15-

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second video depicting a close up of her vagina, Jacobaudtions then responded “close, you need
to be more over it, that wasn't your butt hole. . ..if you just move a little more forward it will show
it. ...you were close.” After MG sent a fifteen second video depicting a close up of her anus and

vagina, Jacobauditions responded “Perfect!”

ll. Jacobauditions then wrote “okay, so the last video, what I need you to do....is it will be a
little messy, so do it on the floor on a towel. But it needs to be a 30 second video, just like that
one where you see your butthole the whole time, I want to see you poop and pee. I want to see it
all come out. If you do this correctly we will be done 100%.” When MG responded that she
could not do what he was asking because she did not need to use the bathroom, Jacobauditions
replied “I want to see you try. I want to see your butthole push and your privates push to pee. . . .I
just need to see it all come out. . .from the holes.” MG again objected, but Jacobauditions
continued to push her, saying, “you don’t have to do it on the phone, I jsut (sic) need to see it all
come out from the holes.” MG then relented and a few minutes later sent lS-second video which
depicted herself urinating on a towel, to which Jacobauditions responded, “ok good [MG], but
here is the deal. That is the perfect position, but I need you to lift your legs so your butthole is
exposed. When you are ready to poop and pee again, I need you to take the 30 second video just

like this one, and do both onto that towel.”

12. Jacobauditions then claimed that he need to go to an interview with Jacob, and told MG
that Jacob could not wait to talk to her. When the conversation continued a short time later, MG
appears to send two videos. However, these videos were not recovered from MG’s phone during
the forensic examination and only the thumbnails for these Videos are present in the report. One
of the thumbnails depicted MG seated on a towel wearing a blue tank top. It was unclear whether
she was clothed from the waist down. The second thumbnail depicted MG completely nude.
Jacobauditions responded, “[MG], you are so close. The whole point is a close up of your butthole
and private as the poop and pee come out. I want to actually see the holes open up and for it to
come out. It needs to be close up and I need to see it. That was just a little so I need you to eat a
lot, and save up, and take a really long video of the poop coming out okay. ...once that is done
you will get all the time you want with Jacob.” MG said that she had tried multiple times but had
not been able to defecate on camera for him. He then responded “ok, until you are ready to poop,

one more video....all clothes off, legs spread as far apart as possible, camera in between your legs.

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Rub your privates up and down, and say ohhhhh Jacob several times. Do this for 40 seconds, and
slowly get faster at the rubbing and talking.” MG then sent a 35-second close up video of herself

urinating and defecating on a towel.

13. After this video was sent, Jacobauditions continued to try and encourage MG into taking
a video of herself masturbating. When MG told him that she can’t and that it isn’t appropriate for
her age, he replied “[MG], age doesn’t matter, I know you can do this.” Jacobauditions then
suggested that they both masturbate together on camera. He requested MG’s e-mail address so
that he could send her a link to watch him masturbate and also sent her a Google hangouts link via
Twitter and advised her to click on it. When she advised that she could not access the link
because she does not have a Google account, Jacobauditions told her to use the e-mail address
blakegray2323@gmail.com and gave her a password to access it. When MG questioned this,
Jacobauditions responded “that is one of my gmail accounts and passwords.” MG advised that
she was unable to access the link using the e-mail account and password that he had sent her and
he responded multiple times encouraging her to try again. When MG was still unable to access

the account, the conversation ended.

l4. On September 12, 2018, law enforcement officials in Switzerland were contacted by
MG’s parents after they learned of MG’s communication With Jacobaudtions and the images and
videos that MG created and distributed to him. The parents informed law enforcement of the
communications and their daughter’s date of birth, which they continued to be July of 2008. At
this time they also provided their daughter’s cellular phone to law enforcement An extraction
report was completed on MG’s cell phone and the conversation between she and Jacobauditions

as well as several of the images and videos that MG created and distributed were recovered.

15. Swiss investigators contacted Twitter, Inc. regarding their investigation, and Twitter
subsequently suspended the account “Jacobauditions” and forwarded a Cypbertip complaint to the
National Center for Missing and Exploited Children (“NCMEC”). After receiving preliminary
information that the subject utilizing the Twitter usemame “Jacobauditions” was located in the
United States, Swiss authorities contacted the FBI for assistance, and provided the information

reported by MG’s parents and recovered from her phone.

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16. The Cybertip report provided by Twitter to the NCMEC was able to provide the

following information regarding the account:

Email Address:

Screen/U ser Name:

Profile URL:

IP Address:

IP Address:

IP Address:

IP Address:

IP Address:

IP Address:

jsartl981@mail.com
Jacobauditions
https://twitter.com/Jacobauditions
66.213.109.2 (Registration)
09-11-2018 10:49:43 UTC
66.213.109.2 (Login)
09-17-2018 12:13:57 UTC
194.59.251.158 (Login)
09-14-2018 13:56213 UTC
194.59.251.215 (Login)
09-13-2018 18:05:11UTC
194.59.251.154 (Login)
09-12-2018 20:21:10 UTC
194.59.251.83 (Login)
09-11-201818:10:49 UTC

17. IP address 66.213.109.2 is resolved to the Ohio Public Library Information Network in
Columbus, OH. Further research indicated that this IP address is specifically linked to
Worthington Public Libraries in Worthington, Ohio. Worthington Public Libraries has three
locations in Worthington and Columbus, Ohio. On November 27 and November 30, 2018 your

affiant travelled to all three of these locations and accessed the building’s publicly available Wi-Fi

network utilizing a mobile device and confirmed that the IP address for these buildings is

66.213.109.2.

18. The four IP addresses listed in Paragraph 50 that were provided by Twitter in the
Cybertip report beginning with 194.59.251 all resolve to M247 Limited. On September 21 , 2018,

a subpoena was served on M247 Limited requesting subscriber information for all four IP

addresses for the listed dates and times. On September 24, 2018, legal counsel for M247 Limited

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responded that no subscriber information was available because those IP addresses are associated
with a Virtual Private Network (VPN). A VPN allows subjects to connect to another network and
hides the subject’s real IP address by granting them a new IP address from the VPN provider.
When a subject connects to a VPN network, the data that the subject transmits is encrypted and

transmitted through a secure private channel which provides security, privacy and anonymity.

19. A subpoena was issued to Google, Inc. for any available information regarding the e-mail
address blakegray2323@gmail.com. On or about October 23, 2018, Google responded with the

following information:

Name: Blake Gray
E-Mail: blakegray2323@gmail.com
Created on: 2018/02/08 16:22:19 UTC

Terms of Service IP: 184.58.108.48 on 2018/02/08 16:22:19 UTC
No user IP logs data
20. IP address 184.58.108.48 is resolved to Spectrum with a geographical location of
Blacklick, OH. A subpoena was issued to Time Warner Cable/Spectrum requesting subscriber

information for IP address 184.58.108.48 on 2018/02/08 at 16:22:19 UTC. On November 2,

2018, Time Warner Cable/Spectrum responded with the following information:

Name: Darren KAMNITZER
Address: 699 Streamwater Drive
Blacklick, OH 43004

21. A search of several publicly available intemet websites revealed that Darren
KAMNITZER is listed as the Network Administrator for Worthington Public Libraries. Your
affiant met with an administrator of the Worthington Public Libraries who confirmed that
KAMNITZER is employed as the Network Administrator. In addition, the administrator
confirmed that KAMNITZER was at work on September 11 and September 17, 2018, which is
when the Twitter account “jacobauditions” was first registered and again accessed via the IP

address linked to and accessible at Worthington Public Libraries.

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22. A subpoena was issued to 1&1 Mail & Media, Inc. requesting any identifying or
subscriber information for the e-mail address jsart@mail.com. On November 15, 2018, 1&1 Mail

responded with the following information:

First/Last Name: Jacob Sartorius

Registration Date: 2018-09-1 1 12:48

Date of Birth: 1981-01-01

Last Success Logins: 66.213.109.2 2018-09-17 10:52:41

IP Access Time Success Reason Login Type
Logins History: 66.213.109.2 2018-09-17 12:52:41 ha-acs
10.74.5.4 2018-09-11 08:49:04 ha-acs

IP address 10.74.5.4 is registered as part of a private network and is not assigned to any specific
organization or intemet service provider. Therefore, no information could be obtained from this
IP address. As indicated above, IP address 66.213.109.2 is resolved to the Ohio Public Library
Information Network, and is specifically linked to Worthington Public Libraries, where Darren
KAMNITZER is employed.

23. On January 10, 2019, a federal search warrant was executed at KAMNITZER’s
residence, 699 Streamwater Drive Blacklick, OH. KAMNITZER was at the residence at the time
the search warrant was executed, and agreed to speak to officers. KAMNITZER denied any
knowledge of the Jacobauditions Twitter account, or the email account blakegray2323@gmail.
KAMNITZER also stated that he did not believe any evidence of child pornography or the sexual

exploitation of children would be present on any computers in the house.

24. Pursuant to the search warrant 23 computers and other digital media were seized from
the residence and transported to the FBI Columbus Resident Agency, located at 425 W.
Nationwide Blvd, Columbus, Ohio 43215.

25. A forensic examination of a custom-built desktop computer, which KAMNITZER
acknowledged as belonging to and utilized by him, was found to have hundreds of images of child

pomography. In addition, a forensic examination of a Dell desktop computer recovered from the

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residence had additional images and videos of child pomography. Some of these files appeared to
depict prepubescent females in scenes similar to the videos MG was directed to produce by the
user of the jacobauditions Twitter account, as described above. Specifically, one of the images
depicted a nude prepubescent female bent over and spreading her buttocks. Some of these images
were thumbnails located in the cache folder, which indicates that the image or video file related to
the thumbnail was viewed on the device at some point, while others Were recovered from
unallocated space, indicating that they had once been present on the devices but had been deleted.
In addition, your affiant utilized forensic software to search for any references anywhere on the
devices to “blakegray2323” or the name Jacob Sartor'ious. The forensic software located
thousands of references to the term “blakegray2323” in numerous different folders and locations
on one of the computers Some of these references included indications that the inbox for the
blakegray2323@gmail.com account had been accessed from this computer. The forensic
software also located numerous references to various Twitter accounts utilizing the last name

“Sartorious” as well as Bing searches related to Jacob Sartorious.

26. ln addition, child pomography files were recovered from two USB drives recovered from
the same room where the two desktop computers referenced above were located. One of these
items, a green Microcenter 8GB USB drive, contained two videos depicting prepubescent females
nude and/or engaged in sexual activity. The other device, a white Kingston 4GB USB drive with
the word “Clonezilla” printed on it, contained five videos which appeared to depict prepubescent

females nude and/or engaged in sexual activity.

27. One of these videos referenced above depicts two subjects who are communicating via
“split screen” utilizing the website “oovoo.” Oovoo is described as a cross platform instant voice
and text messaging app which supports HD video calling simultaneously with up to eight people.
The subjects in this conversation have the user names “Morgan” and “Tom Tomson.” The
subject utilizing the Oovoo screen name Tom Tomson has a “selfie” photo on the right half of the
screen depicting a male approximately twelve to thirteen years of age. As the video starts, the
subject utilizing the Oovoo screen name Morgan is on the left half of the screen and spreads her
vagina for several seconds before the portion of her screen goes black. After approximately ten
more seconds a message appears on the left half of the screen which read “Morgan has left the

call” and the video ends.

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28. A search of the Dell desktop computer referenced in paragraph 24 above for the terms
‘°oovoo” and “Tomson” yielded evidence that the program Oovoo had been installed and utilized
at one time on the computer. In addition, multiple results were observed on the computer that
referenced the Oovoo user name “tomtomson2323” along with a large number of female Oovoo

USCI` nam€S.

29. A forensic examination of a Microcenter 16GB USB drive recovered from a computer
bag located in the trunk of KAMNITZER’S vehicle yielded seven videos of prepubescent females
nude and/or engaged in sexual activity. In addition, dozens of images depicting a prepubescent
male nude and engaged in sexual activity with an adult male were recovered All of these files

had been deleted and were recovered from unallocated clusters.

30. Based upon the foregoing information, your affiant submits that there is probable cause to
believe that Darren KAMNITZER persuaded, employed, used or coerced MG to engage in
sexually explicit conduct, specifically, lascivious display of the genitalia, for the purpose of
producing a visual depiction of such conduct, and such visual depictions Were transmitted via
Twitter, which is a means or facility of interstate or foreign commerce, and has thus committed
offenses in violation of 18 U.S.C. §§ 2251(a). Therefore, your affiant respectfully requests this

court issue a criminal complaint and arrest warrant

r'_`

Brett M. Peachey \-/
Task Force Officer
F ederal Bureau of investigation

Sworn to and subscribed before me this 5 day of March, 2019.

/\ /L/\\

Chelsey M. Vasc'nfa
United States Magistrate Judge
United States District Court for the Southern District of Ohio

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